
TAETINUE for Negroes. Mr. Davis was offered as a witness to prove some conversation had with Mrs. Eelbank, who, it is alledged, made a gift of the Negroes to Mrs. Burt, on her marriage. But it having been previously sworn that she had admitted a gift on the morning preceding the marriage, when Mrs. Burt was present, the Judge tho’t it improper that any after conversation of her’s should be received to invalidate the gift. So he Was rejected. But had not such admission been' proved, and the defendant’s reliance had been on the circumstance of the Negroes’ going home wbh his Wife, and contin-tinuing there for some time, he would have received evidence of conversations about the time of their going home, in order to have discovered what were the intentions of the mother.
